Case 23-12890 Doc41_ Filed 08/10/23 Page 1 of 2

GE: THd 62. ONY OF
UH GIL 4 GH-98SN

The Very Reverend Monsignor Brother John W. Sweeley, EOSF; OBW; Th.D.
Dean, St. Bonaventure College of Franciscan Studies
Launceston, Tasmania, Australia
U.S. Postal Address
612 East 34" Street
Baltimore, Maryland, 21218, U.S.A
Phone: 410-235-1468
Personal Email: jacksweeley@gmail.com

St. Bonaventure Email: brotherbonaventurekolbe@gmail.com

9 August 2023

Mr. Mark A. Neal

Clerk of Court

United States Bankruptcy Court for the District of Maryland
101 W. Lombard Street

Baltimore, Maryland 21201

Dear Mr. Neal,

‘ Case 23-12890 Doc41_ Filed 08/10/23 Page 2 of 2

| have been in Australia for the past month and just returned yesterday so |
was unaware of this proceeding.

| contacted the tenant who resides at the rental property who holds any mail
for me sent to that address because | never received a First Notice to which |
needed to reply.

She gave me a notice that was sent to the rental property but had
misinformation:

John Debere Swooley
800 Hamstead Street
Baltimore, Maryland, 21218-3535

The misinformation is:

Correct Name: John or Barbara Sweeley

Correct Address: 800 Homestead Street

Enclosed please find the completed form 410.

Sincerely,

Bhi font

W. Sweeley, EOSF; Th.D.

